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                                                                     USDC SDNY
UNITED STATES DISTRICT COURT                                         DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                        ELECTRONICALLY FILED
JOSEPH GUGLIELMO, on behalf of himself                               DOC #: _________________
and all others similarly situated,                                   DATE FILED: 10/20/2020____

                               Plaintiff,

               -against-                                       20 Civ. 5364 (AT)

COTE & CIEL INC.,                                              ORDER

                        Defendant.
ANALISA TORRES, District Judge:

        The Court has been advised that all claims asserted herein have been settled in principle.
ECF No. 18. The above-entitled action is hereby dismissed and discontinued without costs, and
without prejudice to the right to reopen the action within sixty days of the date of this Order if
the settlement is not consummated.

        Any application to reopen must be filed within sixty days of this Order; any application
to reopen filed thereafter may be denied solely on that basis. Further, if the parties wish for the
Court to retain jurisdiction for the purposes of enforcing any settlement agreement, they must
submit the settlement agreement to the Court within the same sixty-day period to be so-ordered
by the Court. Per Rule IV(C) of the Court’s Individual Practices in Civil Cases, the Court will
not retain jurisdiction to enforce a settlement agreement unless it is made part of the public
record.

        Any pending motions are moot. All conferences are vacated. The Clerk of Court is
directed to close the case.

       SO ORDERED.

Dated: October 20, 2020
       New York, New York
